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                              IN THE UNITED STATES DISTRICT             COURT
                                 FOR THE DISTRICT OF COLUMBIA



JUDICIAL WATCH, INC.,


        Plaintiff,


                         v.                                         Civil Action No. I: 19-cv-02743-CJN


U.S. DEPARTMENT          OF JUSTICE,

        Defendant.




                     SECOND DECLARATION OF MICHAEL G. SEIDEL

       I, Michael G. Seidel, declare as follows:

        (1)      I am the Section Chief of the Record/Information        Dissemination    Section

("RIDS"), Information     Management      Division ("IMD"), Federal Bureau of Investigation         ("FBI"),

Winchester, Virginia.    My previous declaration dated December          14, 2020, explained my

employment     history and responsibilities   at the FBI. (ECF No. 19-3, "First Seidel Declaration".)

The statements contained in this declaration are based on my personal knowledge upon

information provided to me in my official capacity, and upon conclusions            and determinations

reached and made in accordance therewith.        This declaration    incorporates   and supplements      my

prior declaration and is filed in support of Defendant's    Reply in Support of Motion for Summary

Judgment and Opposition to Cross-Motion         for Summary Judgment to address specific concerns

raised by Plaintiff in its April 20, 2021 Cross-Motion     and Opposition to Summary Judgment.

(ECF No. 26, "Cross-Opp        MSJ".)




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        (2)      Because of the nature of my official duties, I am familiar with the procedures

followed by the FBI in responding      to requests for information      pursuant to the provisions of the

FOIA, 5 U.S.C. § 552, and the Privacy Act of 1974,5 U.S.C. § 552a. Specifically,             I am aware of

the FBI's handling of Plaintiff's   request at issue in this lawsuit.

                        EXEMPTIONS         6 AND 7(C) PERSONAL             PRIVACY

        (3)       It is the FBI's policy to release all names of high-ranking     FBI officials in policy-

making positions, as well as individuals     in public positions, as they do not have privacy rights

while acting in their official capacity.   The FBI conducted a secondary review of the withheld

names and determined that the name of one individual on Bates page 1 should be disclosed.                The

FBI determined that the names and identifying information         of other individuals    withheld were

appropriately    withheld pursuant to Exemptions     6 and 7(C) to protect the names and identifying

information of FBI Special Agents and Professional        Staff that were not high-ranking     FBI

officials in policy-making    or public positions.   Plaintiff claims "the identities of FBI personnel

and government     officials involved in the Crossfire Hurricane investigation       are well-documented

in open-source    media and publicly available."     (Cross-Opp   MSJ, Sec II ,-r4.) However, Plaintiff

has provided no evidence that DOJ or FBI previously released the redacted names and

identifying information contained within this particular record, nor has Plaintiff provided

evidence of a significant public interest in the release of the names and identifying        information

of these individuals.    Plaintiff merely states disclosure of the names and identifying      information

of these individuals is in the public interest but does not explain how or why. Accordingly,            the

FBI can identify no public interest in the disclosure of these individual's        names and identifying

information that would shed light on or significantly      increase the public's understanding       of the

operations and activities of the FBI. Therefore, the FBI concluded the non-existent           public



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interest here was insufficient to override these individuals' substantial privacy interests.

Accordingly, the FBI properly protected these individuals' privacy interests pursuant to

Exemptions 6 and 7(C).

                        EXEMPTION 7(D) CONFIDENTIAL SOURCE

       (4)     Plaintiff previously conceded that there was an express assurance of

confidentiality applicable to page 3 of the EC. Plaintiff claims that as a result of the FBI's re-

processing, during which the FBI further defined the placement of applicable exemptions by

aligning the applicable exemption notation more closely to the portion of the paragraph to which

the exemption applied, Plaintiff is now better able to formulate his challenges to the applicability

of the exemptions. See ECF 26, Sec I, ~4. However, with both versions of the document,

Plaintiff was fully aware that exemption 7(0) applied to information within those paragraphs as

the redaction blocks themselves have not changed and the exemptions identified were, at all

times, placed near the withheld information. The FBI did not adjust or remove any redaction

blocks it placed on the information previously covered as it relates to FBI's application of 7(0).

See ECF 26, Exh A & Exh B.

       (5)     As stated in the First Seidel Declaration, the FBI located information provided by

a foreign government that was sensitive, specific, and detailed in nature. The FBI also

determined that the foreign government requested that extraordinary efforts be made to protect

the source of this information. On Bates pages 2 and 3, the FBI withheld the identity of the

source and the information provided by the source pursuant to an express assurance of

confidentially. See First Seidel Declaration ~~ 24-29. Accordingly, the FBI maintains its

position that FOIA Exemption 7 (D) applies to protect the identity of, and information provided

by, a confidential source in the record at issue.



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                             EXEMPTION 7 (E) INVESTIGATIVE TECHNIQUES

         (6)        The FBI protected methods and techniques            involving the location and identity of

an FBI squad and legat location involved in the investigation               of Crossfire Hurricane as described

in First Seidel Declaration.         Such locations are usually found in the administrative        headings but

can also be located elsewhere within FBI documents,                 such as within the body of an EC. Plaintiff

sought the opening EC of Crossfire Hurricane, and the investigation                 involved the actions of a

squad and legat. Certain FBI squads are highly specialized and are involved in deployment                      of

specific investigative     techniques     and procedures.       Disclosure of locations, in the context of a

particular investigation,     provides insight into available resources, capabilities         and/or

vulnerabilities.     Additionally,    it reveals the availability    of specific resources at that location.

Revealing their involvement          in the context of a particular investigation      would reveal non-public

details concerning which techniques           and procedures were deployed in certain investigative

circumstances.       More specifically,    because legats are operated in foreign countries, revealing the

identity of a legat in the context of a specific investigation,          could reveal the identity of a foreign

government     and its cooperation - or level of cooperation           - with FBI. This divulges the ability (or

inability) of the FBI to obtain information          related to subjects of investigation    within a defined

geographical       area in specific types of investigations,       information   not publicly known.

         (7)        In summary, the FBI withheld the involvement             of a particular squad and legat to

avoid disclosing coordination          with a specific foreign government,        a valuable tool utilized by the

FBI. Armed with knowledge of where the FBI is able to coordinate with foreign governments,

criminals could use such information           to adjust their behavior and activities to circumvent      FBI

law enforcement        efforts in those locations.    Moreover, divulging the identity of foreign

governments        that choose to cooperate with the FBI could result in the loss of a valuable tool the



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FBI utilizes to further investigations. Accordingly, the FBI properly asserted Exemption 7(E) to

withhold this information.


                                         CONCLUSION

           (8)   The FBI has properly withheld information pursuant to the applicable FOIA

exemptions and released all reasonably segregable non-exempt information from the documents

that are subject to the FOIA. Additionally, the FBI has provided clarification in response to

issues raised by the Plaintiff in its Cross-Opp MSJ concerning FBI's application ofFOIA

Exemptions 6, 7(C), 7(D), and 7(E).



Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct.                ,    r
           Executed this ~   day of June 2021.



                                                 MICHAEL G. SEIDEL
                                                 Section Chief
                                                 Record/Information Dissemination Section
                                                 Information Management Division
                                                 Federal Bureau ofInvestigation
                                                 Winchester, Virginia




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